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               IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA


DEBORAH LAUFER,                      :
                                     :
          Plaintiffs,                :
v.                                   :
                                     : Case No.: 6:20-cv-00062
VRSAD LODGING INC,                   :
                                     :
          Defendant.                 :
____________________________________ :
                                     :

 NOTICE OF DISMISSAL [FRCP 41(A)] AND ORDER OF DISMISSAL

     Plaintiff, by and through undersigned counsel, hereby notifies this Court
 pursuant to FRCP 41(a)(1)(A)(i) that this action is dismissed with prejudice as
 to all claims, causes of action, and parties, with each party bearing that party’s
 own attorney’s fees and costs.


 Dated: September 8, 2020

 /s/ Tristan W. Gillespie
 Tristan W. Gillespie, Esq.

 THOMAS B. BACON, P.A.
 5150 Cottage Farm Rd.
 Johns Creek, GA 30022

 ATTORNEYS FOR PLAINTIFF,
 DEBORAH LAUFER



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                           ORDER OF DISMISSAL

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(i), IT IS ORDERED THAT

THIS ACTION BE, AND HEREBY IS, DISMISSED WITH PREJUDICE as to

all claims, causes of action, and parties, with each party bearing that party’s own

attorney’s fees and costs. The Clerk is directed to close the file.



Dated: September 8, 2020



                            ___________________________
                           UNITED STATES DISTRICT JUDGE




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